I$.44 (Rev. 04/21) Case 2:25-cv-02875-KBAYTPDEQOV ER ISH EIEF 06/04/25 Pagelofs

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS DEFENDANTS

AGNES WILLIAMS and JOHNNY WILLIAMS AMTRAK and NATIONAL RAILROAD PASSENGER

CORPORATION
County of Residence of First Listed Defendant
(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED,

(b) County of Residence of First Listed Plaintiff
(EXCEPT IN U.S. PLAINTIFF CASES}

NOTE:

(c) Attorneys (Firm Name, Address, and Telephone Number) Attorneys (If Known)

JEFFREY M. ROSENBAUM ROSENBAUM & ASSOC.,
1818 MARKET ST., STE 3200, PHILA., PA 19103

II. BASIS OF JURISDICTION (Place an “X” in One Box Only) iI. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
{For Diversity Cases Only) and One Box for Defendant)
i} 1 U.S. Government L_]3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State C] 1 C] 1 Incorporated or Principal Place C] 4 C] 4
of Business In This State
[x] 2 U.S. Government CT] 4 Diversity Citizen of Another State CL] 2 C] 2 Incorporated and Principal Place C] 5 C] 5
Defendant (Indicate Citizenship of Parties in Item IID) of Business In Another State
Citizen or Subject of a [13 [] 3. Foreign Nation [le (Je
Foreign Country
IV. NATURE OF SUIT (Piace an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
I CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
110 Insurance PERSONAL INJURY PERSONAL INJURY | }625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane C] 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability | _]690 Other 28 USC 157 3729(a))
140 Negotiable Instrument Liability CT] 367 Health Care/ INTELLECTUAL | 400 State Reapportionment
[_] 150 Recovery of Overpayment [7] 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS [| 410 Antitrust
& Enforcement of Judgment Slander Personal Injury |] 820 Copyrights 430 Banks and Banking
151 Medicare Act 330 Federal Employers’ Product Liability - | 830 Patent 450 Commerce
4 132 Recovery of Defaulted Liability [_] 368 Asbestos Personal [| 835 Patent - Abbreviated 460 Deportation
Student Loans 340 Marine Injury Product — New Drug Application 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability 840 Trademark Corrupt Organizations
C] 153 Recovery of Overpayment Liability PERSONAL PROPERTY L [| 880 Defend Trade Secrets | 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards — Act of 2016 — (15 USC 1681 or 1692)
[_] 160 Stockholders’ Suits H 355 Motor Vehicle 4 371 Truth in Lending Act 485 Telephone Consumer
[_] 190 Other Contract Product Liability [_] 380 Other Personal |_]720 Labor/Management SOCIAL SECURITY Protection Act
- 195 Contract Product Liability || 360 Other Personal Property Damage Relations [|_| 861 HIA (1395ff) 490 Cable/Sat TV
196 Franchise Injury C] 385 Property Damage Hist Railway Labor Act J 862 Black Lung (923) 850 Securities/Commodities/
362 Personal Injury - Product Liability 751 Family and Medical 863 DIWC/DIWW (405(g)) Exchange
Medical Malpractice Leave Act | 864 SSID Title XVI | 890 Other Statutory Actions
| REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS | 1790 Other Labor Litigation [[ | 865 RSI (405(g)) |] 891 Agricultural Acts
|_| 210 Land Condemnation |_| 440 Other Civil Rights Habeas Corpus: | _|791 Employee Retirement |_| 893 Environmental Matters
[| 220 Foreclosure 441 Voting | 463 Alien Detainee Income Security Act FEDERAL TAX SUITS 895 Freedom of Information
230 Rent Lease & Ejectment 442 Employment |_| 510 Motions to Vacate {|_| 870 Taxes (U.S. Plaintiff Act
240 Torts to Land 443 Housing/ Sentence or Defendant) 896 Arbitration
245 Tort Product Liability Accommodations |_| 530 General L | 871 IRS—Third Party - 899 Administrative Procedure
[ ]290 All Other Real Property |_| 445 Amer. w/Disabilities -[ ] $35 Death Penalty IMMIGRATION 26 USC 7609 Act/Review or Appeal of
Employment Other: 462 Naturalization Application Agency Decision
| 446 Amer. w/Disabilities - 540 Mandamus & Other 465 Other Immigration | 950 Constitutionality of
Other 550 Civil Rights Actions State Statutes
|] 448 Education 555 Prison Condition
360 Civil Detainee -
Conditions of
Confinement

V. ORIGIN (Place an “X” in One Box Only)

1 Original 2 Removed from 3. Remanded from Cl 4 Reinstated or 5 Transferred from 6 Miultidistrict 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

VI. CAUSE OF ACTION

Brief description of cause:

VIL. REQUESTED IN [_] CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:

COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: [elves []No
VUI. RELATED CASE(S)

(See instructions):

IF ANY RTA CAOS) GE DOCKET NUMBER

DATE a s a
(lets
FOR OFFICE USE ONLY v
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DESIGNATION FORM

Place of Accident, Incident, or Transaction: (2 1 | C a6 at ayhh \ : Shaan 1 2 GSS /M olay Si file ty

RELATED CASE IF ANY: Case Number: Judge:
1. Does this case involve property included in an earlier numbered suit? Yes L
2. Does this case involve a transaction or occurrence which was the subject of an earlier numbered suit? Yes [
3. Does this case involve the validity or infringement of a patent which was the subject of an earlier numbered suit? Yes |_|
4. Is this case a second or successive habeas corpus petition, social security appeal, or pro se case filed by the same Yes [
individual?
5. Is this case related to an earlier numbered suit even though none of the above categories apply? Yes [

If yes, attach an explanation.

I certify that, to the best of my knowledge and belief, the within case [_] is / {Y is not related to any pending or previously terminated
action in this court.

Civil Litigation Categories

Federal Question Cases: B. Diversity Jurisdiction Cases:

1. Indemnity Contract, Marine Contract, and All Other Contracts) (_] 1. Insurance Contract and Other Contracts
2. FELA CI 2. Airplane Personal Injury

3. Jones Act-Personal Injury CI 3, Assault, Defamation

4. Antitrust (_] 4. Marine Personal Injury

5. Wage and Hour Class Action/Collective Action LJ 5. Motor Vehicle Personal Injury

6. Patent [_] 6. Other Personal Injury (Please specify):

7.  Copyright/Trademark CJ7. Products Liability

8. Employment [J] 8. All Other Diversity Cases: (Please specify)
9. Labor-Management Relations

10. Civil Rights

11. Habeas Corpus

12. Securities Cases

13. Social Security Review Cases
14. Qui Tam Cases

15. Cases Seeking Systemic Relief *see certification below*
16. All Other Federal Question Cases. (Please specify):

OUOUOOUOR0000000 *

I certify that, to the best of my knowledge and belief, that the remedy sought in this case [_] does / does not have implications
beyond the parties before the court and [_] does / (| does not seek to bar or mandate statewide or nationwide enforcement of a state or
federal law including a rule, regulation, policy, or gtder of the executive branch or a state or federal agency, whether by declaratory
judgment and/or any form of injunctive relief.

ARBITRATION CERTIFICATION (CHECK ONLY ONE BOX BELOW)
I certify that, to the best of my knowledge and belief:
[| Pursuant to Local Civil Rule 53.2(3), this case is not eligible for arbitration either because (1) it seeks relief other than money damages; (2) the

money damages sought are in excess of $150,000 exclusive of interest and costs; (3) it is a social security case, includes a prisoner as a party, or alleges a
violation of a right secured by the U.S. Constitution, or (4) jurisdiction is based in whole or in part on 28 U.S.C, § 1343.

None of the restrictions in Local Civil Rule 53.2 apply and this case is eligible for arbitration.

OTE: A trial de novo will be by jury only if there has been compliance with F.R.C.P. 38.

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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JEFFREY M. ROSENBAUM, ESQUIRE
1818 Market Street, Suite 3200
Philadelphia, PA 19103

(215)569-0200

AGNES WILLIAMS and JOHNNY
WILLIAMS, as h/w
5651 McMahon Street
Philadelphia, PA 19144 :

: JURY TRIAL DEMAND
Plaintiffs
vs. j
: NO.
AMTRAK :
1 Massachusetts Avenue NW
Washington, DC 20001
and
NATIONAL RAILROAD PASSENGER
CORPORATION
1 Massachusetts Avenue NW
Washington, DC 20001

Defendants

CIVIL ACTION-PREMISES LIABILITY

JURISDICTION AND VENUE

1. The plaintiffs, Agnes Williams and Johnny Williams, are husband and wife and
citizens of the Commonwealth of Pennsylvania, with their domicile being 5651
McMahon Street, Philadelphia, PA 19144.

2. The defendant, Amtrack, is a corporation, limited liability company, partnership or
fictitious name of an individual or individuals, with a principal place of business
located at 1 Massachusetts Avenue NW, Washington, DC 20001.

3. The defendant, National Railroad Passenger Corporation, is a corporation, limited

liability company, partnership or fictitious name of an individual or individuals,
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with a principal place of business located at 1 Massachusetts Avenue NW,
Washington, DC 20001.

The United States District Court of the Eastern District of Pennsylvania has
original jurisdiction over this action pursuant to 28 U.S.C. Sec. 1331 because
Amtrak was created by an Act of Congress, 49 U.S.C. Sec. 24101 et. seq., and
more than half of its corporate stock is owned by the federal government.

At all times relevant hereto, the defendants were acting through their agents, servants
and/or employees within the course and scope of their employment, and the doctrine

of Respondeat Superior is invoked herein.

At all times relevant hereto all defendants were acting as the agents, servants,

workmen and/or employees of all other named defendants.

STATEMENT OF CLAIM

COUNT I

PLAINTIFF, ANGES WILLIAMS, vs. ALL DEFENDANTS

The plaintiff, Anges Williams, hereby incorporates by reference herein the
allegations contained in the preceding paragraphs of this Complaint as though
same were fully set forth at length herein.

. Atall times relevant hereto, defendants had under their care, direction,
supervision, control and maintenance the premises and train platform located at
30" Street Station, 2955 Market Street, Philadelphia, Pennsylvania, and it was the
defendant’s duty to keep and maintain said premises and train platform in a
reasonably safe condition.

On or about the 26th day of November, 2024 and at all times relevant hereto,

plaintiff, Anges Williams, was visually impaired and was receiving Red Cap
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Service at 30" Street Station, 2955 Market Street, Philadelphia, Pennsylvania.
On or about the 26th day of November, 2024, at approximately 11:30 a.m., a
dangerous, negligent and/or defective condition existed on the premises as
aforesaid and defendants knew or should have known of the existence of same.
On the aforesaid date, the plaintiff, Agnes Williams, lawfully was on the
platform of defendants premises, attempting to board a train, when by reason of
the negligence of the defendants, the plaintiff was caused to trip, slip, stumble
and/or fall due to a gap between the platform and train, resulting in plaintiff's leg
becoming caught in the gap, a result of which caused plaintiff to sustain severe
and serious injuries more fully described hereinafter.
The defendants knew or should have known of the existence of the hazardous and
dangerous condition on the aforesaid premises and street/walkway.
The carelessness and/or negligence of the defendants consisted of the following:
a. Failing to maintain said premises and train platform in a safe and
reasonable condition for persons such as the plaintiff using said premises
and train platform;
b. Failing to reasonably inspect said premises and train platform to
ascertain the existence of the negligent condition when defendants knew

or should have known of the existence of said negligent condition;

c, Failing to warn persons on the premises and train platform of the
negligent and/or defective condition;

d. Failing to properly and adequately repair said premises and
train platform;

é. Failing to properly assist plaintiff, who is visually impaired, onto the train;

f, Failing to ensure that a ramp was in place between the platform and the
train so as to prevent incidents such as plaintiff s;
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g. Negligently allowing said defect to remain on said premises and
train platform;

h. Failing to properly supervise persons maintaining defendants' premises
and train platform; and,

i. Failing to respond to requests to remedy said defective condition.

Solely because of the negligence of the defendants acting as aforesaid, the
plaintiff was caused to sustain serious physical injury in and about the person,
including but not limited to plaintiff's shoulder, foot and ankle, as well as a severe
shock to the nerves and nervous system and was or may have been otherwise
injured, whereby plaintiff has suffered and may continue to suffer in the future
and/or may be permanent.

The plaintiff may have sustained other injuries and pre-existing conditions may
have been aggravated.

The plaintiff avers that some or all of the injuries sustained may be or are of a
permanent nature and character.

As a further result of the aforesaid accident, plaintiff has been unable in the past,
and is likely to continue to be unable in the future, to attend to plaintiff's usual
duties, activities, vocations and avocations, all to plaintiff's great financial loss
and detriment.

As a further result of the aforesaid accident and resultant injuries, plaintiff has
expended and is in the future likely to expend substantial sums of monies for the
care, treatment and attempted cure of plaintiff's injuries, all to plaintiffs great

financial loss and detriment.
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As a further result of the aforesaid accident and resultant injuries, plaintiff has
been caused to undergo in the past and is likely to undergo in the future, severe
pain, suffering, inconvenience and embarrassment, all to plaintiff's great financial
loss and detriment.

WHEREFORE, plaintiff, Anges Williams, demands judgment against the
defendants, Amtrack and National Railroad Passenger Corporation, in a sum in
excess of SEVENTY-FIVE THOUSAND ($75,000.00) DOLLARS.

COUNT II

PLAINTIFF, JOHNNY WILLIAMS, vs. ALL DEFENDANTS
The plaintiff, Johnny Williams, hereby incorporates by reference herein the
allegations contained in the preceding paragraphs of this Complaint as though
same were fully set forth at length herein.
Plaintiff avers that he is the spouse of plaintiff, Anges Williams.
As a result of the aforementioned occurrence, said plaintiff has been and may in
the future be required to expend various sums of money for medical services,
medicines and/or x rays in an effort to treat and cure the spouse of the injuries
sustained in the occurrence and has incurred or may incur other losses for which
plaintiff is entitled to be compensated.
Further, by reason of the aforesaid, said plaintiff has been deprived of the
assistance and society of the spouse, all of which has been to the great financial
damage and loss of plaintiff.

WHEREFORE, plaintiff, Johnny Williams, demands judgment against the
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defendants, Amtrack and National Railroad Passenger Corporation, in a sum in

excess of SEVENTY-FIVE THOUSAND ($75,000.00) DOLLARS.

ROSENBAUM AND ASSOCIATES, P.C.

; [fo
JEFFREY M. ROSENBAUM, ESQUIRE
Attorney for Plaintiffs

By:

DATE:
